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                                                                        11   Attorneys for Plaintiff
M C D ERMOTT W ILL & E MERY LLP




                                                                             HARDY LIFE, LLC
                                                                        12
                                                                                                   UNITED STATES DISTRICT COURT
                                  A TTORN E YS A T L A W




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                                                                                     CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
                                                                        14
                                                                             HARDY LIFE, LLC, a California            CASE NO. CV08 03524 PA (CTx)
                                                                        15   limited liability company,
                                                                                                                      PLAINTIFF’S NOTICE OF MOTION
                                                                        16                   Plaintiff,               AND MOTION FOR PRELIMINARY
                                                                                                                      INJUNCTION PURSUANT TO
                                                                        17         v.                                 FEDERAL RULE OF CIVIL
                                                                                                                      PROCEDURE 65(a)
                                                                        18   NERVOUS TATTOO, INC., a
                                                                             California corporation; CHRISTIAN        [Courtroom of the Honorable Percy
                                                                        19   AUDIGIER, INC., a California             Anderson]
                                                                             corporation; SHOP CRYSTAL ROCK,
                                                                        20   a California business entity;            Date:      July 7, 2008
                                                                             BACKSTAGE WEB, INC., a                   Time:      1:30 p.m.
                                                                        21   California Corporation; SHOP ON          Place:     Ctrm. 15
                                                                             STAGE, Inc., a California Corporation;
                                                                        22   CHRISTIAN AUDIGIER, a California         [Plaintiff’s Memorandum of Points and
                                                                             resident, and Does 1-10, inclusive,      Authorities in Support of the Motion for
                                                                        23                                            Preliminary Injunction Pursuant to
                                                                                                                      Federal Rule of Civil Procedure 65(a);
                                                                        24                   Defendants.              Declaration of Donald Edward Hardy;
                                                                                                                      Declaration of Steven Hoel; and
                                                                        25                                            [Proposed] Order submitted concurrently
                                                                                                                      herewith]
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                                                                             PLAINTIFF’S NOTICE OF MOTION AND
                                                                             MOTION FOR PRELIMINARY               -1-                    (No. CV08 03524 PA (CTx)
                                                                             INJUNCTION
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                                                                         1   TO DEFENDANTS AND THEIR ATTORNEYS:
                                                                         2         PLEASE TAKE NOTICE that on Monday, July 7, 2008, at 1:30 p.m., or as
                                                                         3   soon thereafter as the matter may be heard by the above-entitled Court, located at
                                                                         4   312 North Spring Street, Los Angeles, California 90012, Plaintiff Hardy Life, LLC
                                                                         5   (“Plaintiff”) will and hereby does move for an order granting a preliminary
                                                                         6   injunction pursuant to Federal Rule of Civil Procedure 65(a) and Local Rule 65-1.
                                                                         7         Plaintiff seeks an order granting a preliminary injunction against Defendants
                                                                         8   Nervous Tattoo, Inc.; Christian Audigier, Inc.; Shop Crystal Rock; Backstage Web,
                                                                         9   Inc., Shop on Stage, Inc., Christian Audigier (collectively, “Defendants”), and each
                                                                        10   of their respective partners, owners, officers, directors, associates, agents, servants,
                                                                        11   and employees, and all others acting in concert therewith or having knowledge
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                                                                        12   thereof, as follows:
                                  A TTORN E YS A T L A W




                                                                        13         1.     Enjoining Defendants from using Plaintiff’s DON ED HARDY® and
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                                                                        14   ED HARDY® trademarks (“Plaintiff’s Registered Trademarks”) in combination
                                                                        15   with any other trademark, term, symbol or design, including but not limited to, use
                                                                        16   of the Unauthorized Tagline, “Ed Hardy by Christian Audigier,” and/or using
                                                                        17   Plaintiff’s Registered Trademarks in any combination with the name “Christian
                                                                        18   Audigier,” in connection with the importing, exporting, manufacture, distribution,
                                                                        19   advertisement, promotion or sales of any products;
                                                                        20         2.     Enjoining Defendants from entering into any sublicenses for any Ed
                                                                        21   Hardy brand products not authorized by Plaintiff, including but not limited to,
                                                                        22   sublicenses for (a) men’s and women’s tops; (b) headwear, including helmets; and
                                                                        23   (c) printed paper (coated or uncoated) and cardboard, including but not limited to,
                                                                        24   air fresheners made from paper or cardboard, and stationary and school supplies;
                                                                        25         3.     Enjoining Defendants from importing, exporting, manufacturing,
                                                                        26   producing, distributing, circulating, selling, marketing, offering for sale,
                                                                        27   advertising, promoting, displaying, or otherwise disposing of any products that bear
                                                                        28   any copies of, or derivative works based upon, Plaintiff’s Registered Artwork,
                                                                             PLAINTIFF’S NOTICE OF MOTION AND
                                                                             MOTION FOR PRELIMINARY                   -1-                     (No. CV08 03524 PA (CTx )
                                                                             INJUNCTION
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                                                                         1   including but not limited to products sold under Defendants’ “Christian Audigier,”
                                                                         2   “Crystal Rock,” and “SMET,” brands;
                                                                         3         4.     Requiring Defendants NT and Audigier to send certified letters, return-
                                                                         4   receipt requested, in a form and format acceptable to Plaintiff, within ten (10)
                                                                         5   business days from the date of the Order to each of the companies it has entered
                                                                         6   into sublicense agreements with for the manufacture and distribution of Ed Hardy
                                                                         7   brand merchandise, attaching the Order and instructing the sublicensees to
                                                                         8   immediately cease the creation, distribution, advertisement, promotion, offer for
                                                                         9   sale, and sales, of any merchandise bearing Plaintiff’s Registered Marks or similar
                                                                        10   marks, alone or in combination with any other trademark, term, symbol or design;
                                                                        11         5.     Requiring Defendants to file with the Court and serve upon Plaintiff, a
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                                                                        12   sworn Certification of Compliance within thirty (30) days from the date of an Order
                                  A TTORN E YS A T L A W




                                                                        13   for Preliminary Injunction.
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                                                                        14         Plaintiff is entitled to the relief sought on the grounds that: (a) Plaintiff has a
                                                                        15   substantial likelihood of prevailing on its claims for copyright infringement,
                                                                        16   trademark counterfeiting, and trademark infringement; (b) Plaintiff is suffering, and
                                                                        17   will continue to suffer irreparable harm unless this preliminary injunction is
                                                                        18   granted, due to Defendants’ misappropriation of Plaintiff’s copyrights and
                                                                        19   trademarks; (c) the harm Plaintiff will suffer if injunctive relief is denied far
                                                                        20   outweighs any harm which Defendants would suffer if the requested relief is
                                                                        21   granted; and (d) an injunction serves the public interest in preventing consumer
                                                                        22   confusion and fraud.
                                                                        23         Local Rule 7-3 of the United States District Court for the Central District of
                                                                        24   California does not require that a party conduct a conference of counsel prior to
                                                                        25   filing a motion for a preliminary injunction. Accordingly, no such conference has
                                                                        26   occurred.
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                                                                             PLAINTIFF’S NOTICE OF MOTION AND
                                                                             MOTION FOR PRELIMINARY                    -2-                     (No. CV08 03524 PA (CTx )
                                                                             INJUNCTION
                                                                        Case 2:08-cv-03524-PA-CT Document 6 Filed 06/03/08 Page 4 of 4 Page ID #:133



                                                                         1            This Motion is based upon this Notice of Motion and Motion, the
                                                                         2   accompanying Memorandum of Points and Authorities filed concurrently herewith,
                                                                         3   the Complaint and supporting exhibits filed concurrently herewith, the attached
                                                                         4   Declarations of Donald Edward Hardy and Steven Hoel and all exhibits attached
                                                                         5   thereto, any supplemental memoranda that may be filed by the parties, all
                                                                         6   pleadings, papers and records filed in this action, the argument of counsel, and
                                                                         7   further evidence as the Court may consider at or before the hearing of this Motion.
                                                                         8
                                                                             Dated: June 2, 2008                       Rita W. Siamas
                                                                         9                                             Elliot Silverman
                                                                                                                       John J. Dabney
                                                                        10                                             McDERMOTT WILL & EMERY LLP
                                                                        11
M C D ERMOTT W ILL & E MERY LLP




                                                                        12                                             By: /s/ Elliot Silverman
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                                                                                                                           Attorneys for Plaintiff
                                                                        14                                                 HARDY LIFE, LLC
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                                                                             PLAINTIFF’S NOTICE OF MOTION AND
                                                                             MOTION FOR PRELIMINARY                  -3-                    (No. CV08 03524 PA (CTx )
                                                                             INJUNCTION
